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AO 91 (Rev. 11/82)

CRIMINAL COMPLAINT

 

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

 

Vv

DOCKET NO.
UNITED STATES OF AMERICA

GABRIEL MARTIN REED

 

 

nacismereseaseno. ] 7M J 00 870

 

Complaint for violation of Title 18, United States Code, Sections 1343 and 1028A

 

 

 

 

NAME OF MAGISTRATE JUDGE UNITED STATES LOCATION
HONORABLE ALKA SAGAR MAGISTRATE JUDGE | Los Angeles, California
DATE OF OFFENSE PLACE OF OFFENSE ADDRESS OF ACCUSED (IF KNOWN)

2015 to the present Los Angeles County

 

 

 

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COMPLAINANT’S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

See Attachment

 

 

BASIS OF COMPLAINANT’S CHARGE AGAINST THE ACCUSED:

(See attached affidavit which is incorporated as part of this Complaint.)

 

MATERIAL WITNESSES IN RELATION TO THIS CHARGE: N/A

 

SIGNATURE OF COMPLAINANT
Being duly sworn, I declare that the
foregoing is true and correct to the best. | Ryan Heaton
of my knowledge. OFFICIAL TITLE

 

 

Special Agent, Federal Bureau of Investigation

 

Sworn to before me and subscribed in my presence,

 

SIGNATURE OF MAGISTRATE JUDGE®

 

DATE

ALKA SAGAR April 19, 2017

 

 

 

© See Federal Rules of Criminal Procedure 3 and 54

AUSA Poonam G. Kumar (x0719) REC: Detention

Warrant

 
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Attachment
Count One (18 U.S.C. § 1343)

Beginning in or around 2015 and continuing to the present, defendant GABRIEL
MARTIN REED (“defendant REED”), knowingly and with intent to defraud, devised,
participated in, and executed a scheme to defraud M.C. as to material matters and to obtain
money and property from M.C. by means of material false and fraudulent pretenses,
representations, and promises, and the concealment of material facts. For the purpose of
executing this scheme and in an essential part of the scheme, on or about October 2, 2015, in Los
Angeles County, within the Central District of California, and elsewhere, defendant REED,
transmitted and caused the transmission of a wire communication in interstate and foreign
commerce of approximately $50,000 from a J.P. Morgan Chase bank account an LLC controlled.
by M.C. to a Wells Fargo bank account ending in 6140 held in the name of defendant REED.

Count Two (18 U.S.C. § 1028A)

On or about December 1, 2015, in Los Angeles County, within the Central District of
California, and elsewhere, defendant GABRIEL MARTIN REED knowingly transferred,
possessed, and used, without lawful authority, a means of identification of another person, that
is, the name of F.G., during and in relation to a felony violation of Title 18, United States Code,
Section 1343, Wire Fraud, as charged in Count One. °

 
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AFFIDAVIT
I, Ryan Heaton, being duly sworn, declare and state as follows:
INTRODUCTION

1. I am a Special Agent with the Federal Bureau of
Investigation (“FBI”) and have been so employed since September
2005. I am currently assigned to a Los Angeles Field Division
White Collar Crimes Squad, which is responsible for
investigating financial institution fraud, including bank fraud,
wire fraud, mortgage fraud and identity theft.

2. Since becoming an FBI Special Agent in 2005, I have
received 18 weeks of formal training at the FBI Training Academy
in Quantico, Virginia. I have received training in
interviewing, financial analysis, surveillance, and other
investigative techniques. During the time I have been employed
by the FBI, I have participated in investigations relating to
wire fraud, mail fraud, and various types of financial
institution fraud. I have participated in many aspects of
criminal investigations including, but not limited to, reviewing
evidence, conducting physical and electronic surveillance,
working with informants, and executing search and arrest
warrants. Additionally, I have interviewed defendants,
informants, and victims who had personal knowledge regarding the
investigation in which I have been involved.

PURPOSE OF AFFIDAVIT
3. This affidavit is made in support of a criminal

complaint and arrest warrant for GABRIEL MARTIN REED (“REED”)

 
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for violations of Title 18, United States Code, Sections 1343
(Wire Fraud) and 1028 (A) (Aggravated Identity Theft).

4. The facts set forth in this affidavit are based upon
my personal observations, my training and experience, and
information obtained from various law enforcement personnel and
witnesses. This affidavit is intended to show merely that there
is sufficient probable cause for the requested complaint and
warrant and does not purport to set forth all of my knowledge of
or investigation into this matter. Unless specifically
indicated otherwise, all conversations and statements described
in this affidavit are related in substance and in part only.

SUMMARY OF PROBABLE CAUSE

5. As set forth in further detail below and based on the
information that I have obtained during the course of this
investigation and my training and experience, I am aware of the
following:

a. Between at least approximately June 2008 and
December 2016, REED represented himself as a promoter and
organizer of events such as concerts by Bon Jovi, Van Halen, and
Guns N’ Roses, musical tours called Metal All-Stars and Titans
of Rock, and wrestling matches for the World Wrestling
Entertainment (“WWE”). REED advertised the events under his
company Gabe Reed Productions, also referred to herein as GRP.

b. During this same time frame, REED solicited
individuals to invest money which he claimed would be used to

fund the events that he promoted. REED has successfully

 
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organized concerts in the past and relied on that reputation to
entice some individuals into investing in events.

Cc. To date, several individuais who gave REED funds
for his events and concerts have reported that REED did not use
the funds as he originally promised. Specifically, REED lured
investors in by touting longstanding relationships with
musicians, showing props from alleged previous tours, and in
some instances, creating fabricated financial records related to
music events. REED told investors that certain artists had
agreed to participate in events and that their funds would be
used for the events and they would receive a profit on those
funds. Rather than using the funds for the events, REED would
use the investors’ funds for personal expenses. In some
instances, the artists had never agreed to participate in the
events for which REED solicited investments and the events never
occurred. After sending the money to REED, the investors
regularly received messages from REED that the events were
delayed. The loss attributable to 15 of REED’s victims
identified to date totals over $1.4 million.

STATEMENT OF PROBABLE CAUSE
A. Background on REED
6. Based on incorporation records from Texas, I know that
Gabe Reed Productions was incorporated in Texas and listed an
address in Dallas, Texas. Based on documents provided by REED’s

victims, I know that Gabe Reed Productions is also associated

 
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with an address on Sunset Boulevard in West Hollywood,
California.

7. Based on interviews with witnesses, I know that,
during a portion of the relevant time period and at least in or
around 2015, REED resided in Malibu, California. Based on
witness interviews, text messages received from M.C., a victim
of REED’s, and documents provided by L.4., a victim of REED’s,
REED resided in Los Angeles, California beginning at least as
early as March 2016.1

8. Based on documents received from witnesses and
victims, I know REED used an AOL email address (“REED AOL
Account”) to communicate with his investors and others. Based
on my review of subscriber records, I know that the account
records reveal that the account was created in July of 2000 and
list Gabriel Reed as the subscriber with a physical address in
Malibu, California. This physical address matches the address

where I believe REED resided in or around 2015.

B. M.C. invested $100,000 with REED for Titans of Rock
tour
9. On October 5, 2016, I interviewed M.C. and learned the
following:
a. M.C. owns commercial property, acts as a

landlord, and is involved in manufacturing. M.C. stated he did
not have experience in the music industry or putting on music

events.

 

1 Based on information from M.C., I understand that REED may
have moved to Las Vegas, Nevada at least as of April 7, 2017, if
not some point earlier.

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b. M.C. met REED in or around 2013 through a mutual
friend at a party M.C. threw on his boat.

Cc. In.or around the fall of 2015, REED pitched M.C.
on investing in a music tour called the Titans of Rock. REED
said M.C. could own a percentage of the tour if he made an
investment. REED told M.c. that if he invested in November
then M.C. could be repaid by February. REED asked M.C. for an
investment of $250,000.

d. M.C. did not commit right away, but continued to
socialize with REED.

10. Based on my review of an email provided to me by M.C.,
I learned that REED emailed M.C. from the REED AOL Account on
September 24, 2015 regarding the Titans of Rock tour.

a. In relevant part, the email stated:

Per our discussion, I am doing the Titans of Rock tour in
the spring of 2016.

The basic deal is that an investor would come in with 1m
which is used to cover the main stars’ initial deposits.
Once they are secured I will sell the shows to various
promoters for 550k each which will cover the 1m put in by
your group and the remaining tour expenses. The profits
would come from the net of the promoter fees (after
expense) and the merchandise, meet & greet sales and
sponsorships which we own 100% of. The net to the investor
would be 1,969,870 plus the 1m put in which would be 50% of

the net. As I said a 250k investment would be a 1/6 (roughly

 
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16.7%) share which would net 660k. Attached are the

detailed numbers.

b. The email included a line up for the tour, which
included, among others, G.S., R.S., D.F., A.F., V.A., J.M., and
O.P., all well-known musical performers. Many of these
performers were unaware that REED was using their names to
defraud people.

Cc. The email also stated that a fourth star could be
brought on, but REED stated they “should move with what we have
at this point.”

d. Attached to the email were images that appeared
to be promotional material for the tour that contained the tour
name, the performers’ names (including G.S., R.S., and D.F.),
‘and in one instance, their likenesses. Also attached to the
email was a budget that listed expenses as well as a projected
net profit of $3,939,740 from the tour.

11. M.C. provided me with a copy of the contract between a
Limited Liability Corporation I understand M.C. owns (*“M.C.’s
LLC”) and Gabe Reed Productions. While the copy M.C. provided
was unsigned, M.C. stated that a copy was, in fact, executed.
The contract covered the 2015/2016 touring season of the Titans
of Rock in Europe, South America, and Asia. The contract
provided that, in exchange for M.Cc. LLC’s investment of
$100,000, it would receive an 8.5% share of an LLC created for
the Titans of Rock Tour. To this LLC, GRP would contribute the

revenue generated from the tour, including, among other things,

 
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the “[r]evenue generated by all performance and/or concert
and/or touring fees for the 2015/2016 touring season.”

12. Based on my interview with M.C., I learned that, after
executing the contract, M.C. invested $100,000 with REED. Based
on my interview with M.c., I learned that M.C. expected the
invested funds to be used to pay artists and that the tour was
to occur in the spring of 2016. M.C. expected to be repaid
before the tour occurred, because REED stated that the tour
would be sold to promoters in advance.

13. Based on my interview with M.C. and my review of bank
records from Wells Fargo, I learned that M.C. provided the money
to REED through two wire transfers of $50,000 each on October 2
and 6, 2015. M.C. wired the funds from a bank account under his
control, specifically a Chase bank account in the name of M.C.’s
LLC, to a Wells Fargo Bank account ending in 6140 in the name of
REED (“REED Account 6140”).

14. Based ‘on my review of records from Wells Fargo, I
learned that the October 2 and 6, 2015 wire transfers from the
Chase bank account in the name of M.C.’s LLC both have a Fed#.
Based on my training and experience, I understand that wire
transfers that have Fed#s are frequently processed through
FedWire, which is a real-time gross settlement funds transfer
system. Based on my email communications with an employee of
the Federal Reserve Bank of New York, I understand that from
April 27, 2009 to approximately November 10, 2014 all FedWire
wire transfers were processed through New Jersey and that from
approximately November 10, 2014 to August 10, 2016 all FedWire

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wire transfers were processed through Texas. Therefore, there
is probable cause to believe that the two $50,000 wires
transferred from M.C. to REED Account 6140 involved an
interstate wire communication.

15. I obtained account records for REED Account 6140 from
Wells Fargo. Based on my review of these records, I learned:

a. The account was opened on April 15, 2015 and the
only signatory was REED.

b. At the beginning of the day on October 2, 2015,
the account was overdrawn in the amount of $1,148.27.

Cc. Later in the day on October 2, 2015, there was an
incoming wire from M.C.’s LLC for $50,000. There was another
wire from M.C.’s LLC for $50,000 on October 6, 2015. Based on
the facts set forth above, I believe these wire transfers
represent M.C.’s initial investment with REED.

d. Following these incoming wires, I observed a
number of debits, including, but not limited to, checks drawn on
the account with memo lines that appear to refer to child
support, a birthday, and “Somewhat Act Settlemat[sic]”, as well
as numerous withdrawals from ATMs and bank branches/stores in
various amounts. I also observed small purchases at Spirit
Halloween, Ruth’s Chris Steakhouse, the Four Seasons Beverly
Hills, and Mr. Chow of LA Beverly Hills. Based on my review of
the bank records, by December 2015, M.C.’s investment of
$100,000 had been depleted. During this time period, I was
unable to identify the payment of any expenses related toa

concert or tour.

 
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Cc. Representatives state artists never booked for Titans
of Rock tour

16. On December 12, 2016, I interviewed a New York
attorney who represents G.S. and learned the following:

a. The attorney helped negotiate a deal for G.S. to
perform as a part of the South America Rock N’ Roll All Stars
Tour with REED in 2012. G.S. was paid for the tour upfront.
The attorney did not recall G.S. mentioning any issues with REED
or with the 2012 tour, but he did hear rumors that other parties
involved in the tour were not paid. The attorney did not know
exactly when G.S. met REED nor when they began communicating.

b. In or around 2015, G.S. learned that REED used
G.S.’s name to obtain money and informed the attorney who
subsequently sent a cease and desist email to REED on July 16,
2015. REED did not respond to the email from the attorney. The
attorney did not know specifically what REED was doing with
G.S.’s name and after this email was sent, REED contacted only
G.S. and not the attorney.

c. The attorney stated that, to his knowledge, G.S.
and REED never reached an agreement to perform in a 2015 tour
organized by REED. It would have been unusual for G.S. to sign
an agreement without the attorney’s involvement and especially
not in a situation where G.S. had already asked the attorney to
negotiate with REED.

d. The attorney stated he did not believe G.S.

signed anything in relation to a Titans of Rock tour.

 
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17. Based on emails sent to the FBI by G.S.’s attorney, I

learned the following:
a. In or around August 2015, REED (from the REED AOL

Account) emailed G.S. several times regarding a Titans of Rock
tour. During the course of this correspondence, G.S. told REED
on August 17, 2015 that “Everything is on hold now... We
will have to wait until my schedule is clear.” REED then
responded stating that “if we don’t start moving soon the
November/December time frame may have to move into early 2016
which may work better at any rate.” G.S. then responded stating
“We will all have to wait.” On September 1, 2015, REED emailed
G.S. stating “Any update on your schedule? I would like to move
forward with executing the contract and deposit.” G.S.
responded “Sorry, it will have to wait. We are shortly leaving
for Australia to tour and need to solidify New Year’s during
schedules, before we discuss anything else.” On October 1,
2015, REED again followed up and asked whether “we can do Titans
next spring?”. G.S. responded “Apologies. We are on tour in
Australia. This will all have to wait, until I have a chance to
more clearly study this, when my head is clear.”? As set forth
above, M.C.’s investment came in after G.S.’s emails with REED.

18. On December 5, 2016, I interviewed a booking agent who

represented O.P. and R.S., two artists REED represented to M.C.

 

2 The email indicates that G.S.’s response was dated
September 30, 2015. Given that REED’s email to which G.S. was
responding was dated October 1, 2015, I believe there was likely
a time zone adjustment which accounts for the discrepancy in
dates.

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were to perform in the Titans of Rock tour. I learned the
following from the booking agent:

a. The agent was vaguely familiar with REED. He
also said the Titans of Rock tour rang a bell for him and that
his recollection was that R.S. and O.P. had passed on that
event. His last communication with REED would have been around
the time he last emailed REED, in or around February of 2016.
The booking agent reiterated that no agreement was reached for
R.S. or O.P. to play on the Titans of Rock tour. To the agent’s
knowledge, R.S. did not ever perform in any event for the Titans
of Rock. The agent stated that other than an email exchange
about R.S., he had never done business with REED. The booking
agent stated that the chances were slim to none that R.S. would
have agreed to and played in a REED organized event without him
knowing.

19. On November 9, 2016 I interviewed the booking agent
for D.F., a musician REED represented to M.C. would perform on
the tour. I learned the following from the booking agent:

a. The booking agent recalled dealing with REED
regarding a possible tour involving D.F. The agent said REED
made an offer, but never confirmed it. The tour was supposed to
revolve around an All-Star band, of which D.F. would be one of
the members. According to REED’s proposal, the All-Star band
was supposed to tour Europe and Asia. The agent said that he
had a few conversations with REED and at one point told REED
D.F. was ready to accept. D.F., before confirming, wanted to
verify the other musicians that were supposed to be part of the

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tour. The booking agent recalled learning that, contrary to
what REED had represented, R.S. was not in the band. REED
eventually confirmed to the agent that R.S. was not in the band
and the agent told REED D.F. would not confirm until he knew who
was in the band. The agent never heard from REED again.

b. The booking agent said that a contract was never
issued and he never reached a formal agreement with REED. The
first negotiating email exchange he had with REED was on June
11, 2015 and his email communication with REED stopped on June
13, 2015.

c. The booking agent said it was a misrepresentation
for REED to tell anyone that D.F. was part of the All-Star band.
This was particularly so, according to the agent, in October
2015 because he and REED were no longer communicating.

d. I asked the booking agent if D.F.’s name or photo
could have been used in any promotional material for the tour
with REED. The booking agent stated that REED did not have
permission to use D.F.’s name or appearance because there would
have had to been an agreement in place first. In such
agreements, the artist normally gets to review the promotional
material and approve it before it's used. The deal with REED
never reached that point.

20. On November 4, 2016 I interviewed V.A., a musician
REED had represented to M.C. would perform on the Titans of Rock

tour. From this interview, I learned the following:

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a. V.A. was contacted by REED via email a couple
years ago to perform on a tour called the Metal All-Stars. V.A.
said the event never happened.

b. V.A. said REED later offered him another
opportunity for a Metal All-stars event, but again it was
cancelled. V.A. had heard from other performers that REED was a
nightmare to work with.

ca. At first, V.A. did not recall working with REED
on an event, but later clarified that he did recall playing two
events that REED arranged in South America. The events did not
occur exactly as initially planned. V.A. stated there was a lot
of uncertainty as to whether the events were going to happen and
the airline tickets for the performers were not purchased until
the last minute. V.A. stated that he had never been a part of
event where the organizer waited so long to procure the airline
tickets. V.A. stated that he had thought the events were
supposed to be part of a much larger tour, but only two events
occurred. V.A. recalled that he left to play these events in or
around November 2014.

d. V.A. said that he last heard from REED in or
around April 2015. REED contacted V.A. again for a tour that
never happened. V.A. did not recall agreeing to play an event

organized by REED scheduled to take place in the Spring of 2016.

Cc. REED continues to make false representations to M.C.
‘ yegarding Titans of Rock tour after M.C.’s investment

21. Based on emails provided to me by M.C., I learned that

on December 1, 2015, REED emailed M.C. (from the REED AOL

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Account) attaching what REED described were the “main artist
agreements,” which REED stated should be kept confidential.
These agreements pertained to R.S., D.F., G.S., and S.N., a
musician who was not included in the original list REED sent to
M.C., but is otherwise well-known.

22. Based on my review of the contract sent by REED to
M.C. related to G.S., I learned that it was four pages long. It
was purportedly signed by both REED and G.S. Based on my review
of a 2012 contract relating to a Rock N’ Roll All Stars tour
signed between G.S. (through a corporate entity) and REED sent
to me by G.S.’s attorney and referenced above in paragraph 16, I
learned that the last page of the 2012 contract is identical to
the one sent by REED to M.C. in December 2015, with the
exception of the date of execution from the 2012 contract, which
had been removed in the 2015 contract. From my review, I
believe the signatures on the two contracts to be virtually
identical.

23. Based on my review of the agreements sent by REED to
M.C. in December 2015, I learned that the agreement with S.N.
was on the letterhead for a company with an address in Miami,
Florida (“TAT”) .3 Based on my review of the publicly available
TAT website, I understand that there is an entity by that name
located at the address listed on the S.N. contract and that the
logo on the website appears to match the logo on the letterhead

on the agreements sent to M.C. During the course of this

 

3 The full name of the entity has been modified in order to
safeguard the identities of the individuals involved.

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investigation, I interviewed the owner of TAT who stated, among
other things, that she never represented S.N. and that she did
not generate the agreement sent to M.C. The owner stated she
had three employees in Florida and she did not believe any of
her employees would have been involved with S.N. The owner
stated that she had had prior interactions with REED in 2014 and
2015, but that their discussions involved a Hip Hop All-Stars
tour.

24. Based on emails I received from M.C., I learned that
REED sent M.C. another email (from the REED AOL Account) on
December 1, 2015 attaching a .pdf file. I also learned the
following:

a. In the email, REED stated “Take a look at the
attached. I got an offer from a reliable broker to buy 5 of the
10 shows for 3.3m which take a huge load off but they can’t pay
until January. Also got a Merch offer which is just ok - they
will pay 250K advance on the sales. Sending more docs shortly.
Gabe.”

b. The agreement attached to the email purported to
be an employment agreement between Gabe Reed Productions as
legal representative of Titans of Rock and an entity acting as a
purchaser of music (*IM”}).* The agreement sets forth that IM
agreed to hire Gabe Reed Productions for the Titans of Rock tour
scheduled to take place in Belarus, Poland, Sweden, and Russia

for a flat fee of $3,350,000. The signature line on the

 

4 The full name of the entity has been modified in order to
safeguard the identities of the individuals involved.

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agreement for IM shows F.G. was to be the signatory on behalf of
IM. The agreement is unsigned.

25. On January 15, 2016 and November 1, 2016 I interviewed
F.G. Based on this interview, I learned:

a. F.G. works as a musician and music producer.

b. F.G. first met REED roughly ten years ago. F.G.
understood that REED worked with G.S., who imposed REED on his
associates because G.S. liked REED. F.G. stated that REED
sometimes appeared on G.S.’s reality show.

c. F.G. knew that G.S. had worked with REED on a
Rock N’ Roll All Star tour in South America in or around 2012.

d. In or around 2013, REED called F.G. and told him
about the Metal All-Stars tour. REED told F.G. he was no longer
doing Rock and Roll All-Stars. REED wanted to know if F.G. was
interested in being a part of the tour. REED and F.G.
subsequently completed a letter of engagement. For this deal,
F.G. brought in a partner and formed IM. F.G. and REED agreed
on one contract for all of the countries in the tour for a lump
sum of $1,400,000. F.G. stated that REED should have already
secured the performers before his negotiations with F.G. took
place. F.G. later discovered that two of the performers REED
said would be part of the tour had never agreed to the tour.
REED subsequently signed a new agreement with a Russian promoter
to deliver a new lineup and renegotiate the fee. The promoter,
F.G., F.G.’s partner, and REED also decided to set up a third
party to handle the money; this third party would release funds
to REED only when he gave them a bill. F.G. said the Metal All

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Stars tour happened in or around the spring of 2014, but each
show presented its own drama.

26. I emailed F.G. the IM agreement with F.G.’s name on it
that REED had sent to M.C. F.G. said he was disgusted after
reviewing the agreement and that he had no knowledge regarding
the agreement. F.G. stated that IM was not currently an
operational company.

27. Based on my interviews with M.C., I learned that
sometime in early 2016, REED told M.C. that there were booking
problems and the tour had to be delayed to May or June. M.C.
became frustrated as he wanted to go to gome of the tour events
and was trying to plan travel arrangements to coincide with the
tour dates. The tour dates kept getting delayed and eventually
REED told him it was going to happen the following year. Since
REED originally told M.c. that the artists were locked in and
paid, M.C. did not understand the delays and asked for his money
back. REED promised a check was in the mail to M.C., but M.C.
never received a check. REED continued to guarantee he would
make M.C. whole, but, as of April 12, 2017, M.c. had not
received his money.

28. M.C. provided me with an email from July 2016
involving REED. Based on my review of this email, I learned:

Cc. The email chain purported to be between REED

(using the REED AOL Account) and an individual named V.C., whose

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email address was [IM] productions@gmail.com.5® Also copied on the

-email exchanges were [TAT] 1lc@gmail.com® and [JB] law@gmail.com.’7
d. In the email, V.C. purportedly wrote, on July 21,

2016, in pertinent part, to REED: “We made arrangements with our

bank today and the funds will be sent first thing in the morning

here in Ljbuljana.” I will send the swift confirmation as soon
as the bank send [sic] it out.. [sic] .”

e. On July 27, 2016, REED wrote *I checked this
evening and no money has hit my account!! You need to get this

fixed or we will move on with another promoter. It should not.
take this long to pay a deposit! Gabe.”

29. I obtained subscriber records for the following email
addresses: [IM] productions@gmail.com, [TAT] Llc@gmail.com, and
[JB] law@gmail.com. For each email account, the REED AOL
Account, is listed as the recovery email address. Two of the
email accounts listed different phone numbers, both of which,
based on my review of subscriber records, are associated with
REED. The third email account did not have a phone number
associated with it.

30. During the course of my interviews with the owner of
TAT, referenced above in paragraph 23, I learned that the owner
knew nothing about the email address [TAT]]llc@gmail.com and that

her entity was not an LLC. In addition, I interviewed J.B., the

 

5 The full name of IM appeared in the email address.
6 The full name of TAT appeared in the email address.

7 The full email address includes the first initial and last
name of a real individual and has thus been modified to
safeguard that individual’s identity.

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person whose name appears in the email address

[JB] law@gmail.com. J.B. is, in fact, a real attorney and has
had interactions with REED. J.B. stated that he has never used
the email address [JB] law@gmail.com. F.G. similarly stated that
he has never used the email address [IM] productions@gmail.com
and that no one by the name of V.C. ever worked at IM.

31. Based on my training and experience and my knowledge
of this investigation, I believe REED used these email addresses
and the contract with F.G.’s name on it to lull M.C. into
believing that his funds had been legitimately invested and to
delay M.C. from pursuing further legal action.

IV. CONCLUSION

32. For all the reasons set forth above, I believe there
is probable cause to believe that, in violation of 18 U.S.C.

§ 1343, REED, knowingly and with the intent to deceive and cheat
and as part of a scheme and plan, made material false
representations to M.C. with regards to the Titans of Rock tour
for the purpose of obtaining money and property and that REED
caused an interstate wire communication to be used,
specifically, the wire transfer in the amount of $50,000 on
October 2, 2015 from M.C. to REED, to carry out an essential
part of the scheme.

33. Further; based on the facts set forth above, I believe
there is probable cause to believe that, in violation of 18
U.S.C. § 1028A and during and in relation to the scheme and plan
to obtain money and property from M.C. by means of false
representations, REED knowingly transferred, possessed, and used

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without legal authority the means of identification of another
person, specifically, F.G.’s name as listed on the fraudulent
contract sent by REED to M.C. on December 1, 2015, which REED

knew belonged to a real person.

[s/

 

Ryan Heaton, Special Agent
Federal Bureau of
Investigation

Subscribed to and sworn before me
this \n day of April, 2017.

ALKA SAGAR

 

UNITED STATES MAGISTRATE JUDGE

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